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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

              v.                                       Case No. 22-CR-176 (CJN)

 STEPHEN JOHNSON,
                                                       EX PARTE AND UNDER SEAL
                   Defendant.


              UNITED STATES’ MOTION FOR LEAVE TO FILE
       UNDER SEAL ITS MOTION TO RESTRAIN DISSIPATION OF ASSETS

       The United States of America, by and through undersigned counsel, respectfully moves for

leave to file under seal its Motion to Restrain Dissipation of Assets. For reasons that follow, this

Court should grant the motion.

       The Court has the inherent power to seal court proceedings and filings when appropriate.

United States v. Hubbard, 650 F.2d 293, 315–16 (D.C. Cir. 1980) (citing Nixon v. Warner

Communications, Inc., 435 U.S. 589, 598 (1978)); see also, e.g., In re Sealed Affidavit(s) to Search

Warrants, 600 F.2d 1256, 1257 (9th Cir. 1979) (finding that the court has inherent power to seal

search warrant affidavits). Such sealing is within the sound discretion of the District Court. See

Nixon, 435 U.S. at 598 (common-law right to inspect and copy judicial records is not absolute, but

the decision whether to permit access is best left to the sound discretion of the trial court in the

light of the relevant facts and circumstances of the particular case).

       The six-factor test outlined in Hubbard “has consistently served as our lodestar” by

“ensur[ing] that we fully account for the various public and private interests at stake,” MetLife,

Inc. v. Financial Stability Oversight Council, 865 F.3d 661, 666 (D.C. Cir. 2017), in evaluating

motions to seal or to unseal judicial records. The Hubbard test considers:
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       (1) the need for public access to the documents at issue; (2) the extent of previous public
       access to the documents; (3) the fact that someone has objected to disclosure, and the
       identity of that person; (4) the strength of any property and privacy interests asserted;
       (5) the possibility of prejudice to those opposing disclosure; and (6) the purposes for which
       the documents were introduced during the judicial proceedings.

In re Application of Leopold to Unseal Certain Electronic Surveillance Applications and Orders,

964 F.3d 1121, 1131 (D.C. Cir. 2020) (quoting Metlife, 865 F.3d at 665); see also id. at 1129–30

(explaining that unless Congress has spoken directly to the issue at hand, the common-law standard

enshrined in the Hubbard balancing test governs sealing decisions (internal quotation marks

omitted) (quoting Metlife, 865 F.3d at 669)); Hubbard, 650 F.2d at 317–22.

       In this case, a review of the Hubbard factors weighs in favor of sealing the government’s

Motion to Restrain Dissipation of Assets until the Court can act on the motion. The government

has learned that, before self-surrendering, the defendant attempted to liquidate accounts with J.P.

Morgan Chase containing nearly $1,000,000 in assets.            The defendant faces a substantial

mandatory restitution judgment and mandatory assessments in this case and currently has the

means to pay them. Maintaining the motion under seal minimizes any risk that the defendant

might liquidate the accounts 1 or other assets before the Court can act on the motion. The United

States has a compelling interest in ensuring that these funds are preserved pending sentencing so

that they are available to satisfy the substantial mandatory restitution and special assessments that

the defendant faces in this case.

       WHEREFORE, the government respectfully requests that this Court grant its motion and

allow it to file under seal its Motion to Restrain Dissipation of Assets.




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  On May 7, 2024, defense counsel informed the government by email that the defendant’s J.P.
Morgan Chase accounts had been frozen. This appears to have been done on the bank’s own
initiative; the government is not aware how long the freeze will remain in effect.


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                                    Respectfully submitted,

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